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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,                            CRIMINAL NO. 06-20234-2

-vs-                                                        HON. JOHN CORBETT O’MEARA
D-1     LABARON WARDLAW,
D-2     AHMAD KHILIA DANIELS,

                  Defendants.
___________________________________/



           ORDER DENYING DEFENDANT DANIELS’ MOTION FOR BOND,
          SETTING MOTION CUT-OFF DATE AND ADJOURNED TRIAL DATE

        This matter having come before this Court on Defendant Daniels’ Motion for Bond, Motion

to Adjourn Trial Date, Motion to Extend Motion Cut-off Date, and Motion for Discovery, and the

Court having heard arguments from counsel for Defendant Daniels and counsel for the government

on July 10, 2006, and Counsel for Defendant Wardlaw having concurred with the motion to adjourn

trial date:

        IT IS HEREBY ORDERED that Defendant Daniels’ Motion for Bond is Denied; Defendant

Daniels’ Motion to Adjourn Trial Date and Extend Motion Cut-Off is Granted; Defendant’s Daniels’

Motion for Discovery is Granted, with the concurrence of the government;

        IT IS FURTHER ORDERED that August 22, 2006, is the motion cut-off date for both

Defendant Daniels and Defendant Wardlaw; Trial will be held on September 19, 2006;

        IT IS FURTHER ORDERED that the time from July 11, 2006 through September 19, 2006,

shall be excludable delay pursuant to 18 U.S.C. §§3161(h)(8)(A) and 3161(h)(8)(B)(iv) because not

granting such a continuance would unreasonably deny the Defendants effective assistance of counsel
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and would deny defense counsel the reasonable opportunity to consult with Defendants for effective

resolution of the case.

                                                IT IS SO ORDERED




                                                s/JOHN CORBETT O’MEARA
                                                United States District Court Judge

Date: July 13, 2006
